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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                     Civil Division

JULIANNE GIRARD, individually, and
as parent and next friend of
KAYLA GIRARD, her minor daughter,
                                                     CIVIL ACTION NO.1:05-cv-02024-RJL
                              Plaintiffs,
vs.

ELI LILLY AND COMPANY, an Indiana
corporation,
                          Defendant.
___________________________________

                JOINT MOTION FOR ENTRY OF SCHEDULING ORDER AND
                       ORDER OF REFERRAL FOR MEDIATION

         Plaintiff, JULIANNE GIRARD, individually, and as parent and next friend of KAYLA

GIRARD, her minor daughter, and Defendant, ELI LILLY AND COMPANY, hereby jointly move

the Court to enter its Scheduling Order setting deadlines for completion of discovery,

disclosure of expert testimony, filing of dispositive motions, and any other matters deemed

necessary or appropriate by the Court, and to also enter its Order referring this case to

mediation, and state:

         1.     On January 9, 2006, the parties filed their Joint 16.3 Report (Dkt. #6) and

attaching thereto a proposed Scheduling Order setting forth agreed upon deadlines for the

progress of the case. The Report also requested that the Court refer the case to Magistrate

Judge Alan Kay for mediation to occur after the close of discovery. While these matters were

discussed briefly at the Initial Scheduling Conference held by the Court on February 10,

2006, a Scheduling Order has not yet been entered.
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       2.       Since the date of the Initial Scheduling Conference, the parties have agreed

to extend their original requested deadlines by an additional thirty (30) days and hereby ask

that the Court enter the attached Scheduling Order that incorporates these dates. The parties

further ask that the Court enter the attached Order referring the case to Magistrate Judge Kay

for mediation to occur after the close of discovery

       WHEREFORE, the parties jointly request that the Court enter the attached Scheduling

Order and Order referring the case to mediation.

March 2, 2006                                 Respectfully submitted,

PATRICIA MARTIN STANFORD, P.A.                FOLEY HOAG LLP

/s/ Patricia M. Stanford                      /s/ James J. Dillon
                                              ____________________________________
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